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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )                    4:08CR3018
                                              )
             v.                               )
                                              )
DORIS JEAN WILLIAMS,                          )      ORDER ON MOTION FOR LEAVE TO
                                              )       PROCEED IN FORMA PAUPERIS
                    Defendants.               )
                                              )


       IT IS ORDERED that the Motion for Leave to Proceed in Forma Pauperis, filing 93, is
granted.

      Dated November 26, 2010.

                                     BY THE COURT

                                     s/ Warren K. Urbom
                                     United States Senior District Judge
